  Case 1:08-cv-00991-PLM ECF No. 372 filed 12/07/17 PageID.6240 Page 1 of 1



                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 ROBERT CARLSON, Personal
 Representative of the Estate of Craig Carlson
        Plaintiff,
                                                           Case No. 1:08-cv-991
 v.
                                                           HONORABLE PAUL L. MALONEY
 SCOTT FEWINS, et al.,

         Defendants.
 _______________________________/


                                               ORDER

       On December 5, 2017, the Court conducted a telephone conference with counsel for all

remaining parties to this lawsuit. For the reasons discussed during the conference,

       IT IS HEREBY ORDERED that the deadline for Defendants to file an anticipated motion

to establish issues remaining for trial is January 8, 2018. Plaintiff will file a response to the motion

is February 5, 2018. A hearing on the motion is scheduled for March 5, 2018 at 9:00 a.m.



Dated: December 7, 2017                                         /s/ Paul L. Maloney
                                                               Paul L. Maloney
                                                               United States District Judge
